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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA




  MICHAEL BENSON, et al.,

                               Plaintiffs,

  v.                                                  CIVIL ACTION NO. 5:20-cv-00229

  HIGH ROAD OPERATING, LLC,

                               Defendant.



                          MEMORANDUM OPINION AND ORDER

         Pending before the Court are cross-motions for summary judgment filed by Defendant

  High Road Operating, LLC, formerly known as American Petroleum Partners Operating, LLC

  (“Defendant”), (ECF No. 63), and Plaintiffs, (ECF No. 64). For the reasons discussed more fully

  below, the Court GRANTS Defendant’s Motion, (ECF No. 63), and DENIES Plaintiffs’ Motion,

  (ECF No. 64).

                                             I.   BACKGROUND

         This matter arises out of a dispute concerning an oil and gas agreement between each

  respective Plaintiff and Defendant. Between April 26, 2018, and May 11, 2018, Plaintiffs each

  signed the following documents: (1) Paid-Up Oil and Gas Lease (“Lease”), (2) Addendum to the

  Lease, (3) Order of Payment – Oil & Gas Lease Bonus (“Order of Payment”), and (4)

  Memorandum of Lease (“Memorandum”). (ECF Nos. 63-2, 63-3, 63-5, 63-4.) Defendant

  submitted each Memorandum for recording in Ohio County, West Virginia on the following dates:

  May 10, 2018, May 25, 2018, June 6, 2018, June 12, 2018, and June 22, 2018. (ECF No. 63-4.)



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  As each respective Lease, Memorandum, and Order of Payment are substantially the same, (see

  ECF No. 63-8 at 37:9-11), the Court will refer to these documents as applying generally to each

  Plaintiff.

          The Lease required that Defendant, as lessee, pay Plaintiffs, as lessors, ten dollars ($10.00)

  “and other good and valuable considerations” in exchange for certain mineral rights. (ECF No.

  63-2 at 1.) Among other provisions, the Lease allowed Defendant, as lessee, to surrender the

  Lease, “at any time . . . by tendering an appropriate instrument of surrender” to Plaintiffs, as

  lessors. (Id. at 3.) The Lease also acknowledges that Plaintiffs, as lessors, “agree[] that a

  Memorandum may be filed,” by Defendant, as lessee, “detailing the relevant provisions of this Oil

  and Gas Lease.” (Id. at 4.) While Plaintiffs signed and notarized the Lease, Defendant did not.

  (Id. at 9.) However, Defendant paid each Plaintiff ten dollars ($10.00) for “consideration for the

  execution of the above mentioned Oil and Gas Lease[.]” (ECF No. 63-6.)

          The Order of Payment, which was on Defendant’s letterhead, required Defendant to tender

  an oil and gas lease bonus of $6,500 per net mineral acre in connection with the Lease to Plaintiffs.

  (ECF No. 63-5.) However, this bonus was “[o]n and subject to approval of the fully executed and

  notarized Oil and Gas Lease . . . by the management of [Defendant] . . . and upon and subject to

  further approval of [Plaintiffs’] title and rights thereunder by [Defendant][.]” (Id.) This bonus

  was to be tendered “within ninety (90) business days of the date of th[e] Order of Payment.” (Id.)

  Plaintiffs also acknowledged that, if the title examination revealed they were “vested with less than

  the full and undivided 100% interest,” the bonus amount would be “either (i) proportionately

  reduced,” or “(ii) alternatively, [Defendant] may, at its sole option, void the Oil and Gas Lease in

  its entirety with notice to [Plaintiffs].” (Id.) Plaintiffs signed the Order of Payment, but there was

  not a line provided for Defendant’s signature. (See id.)



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             The Memorandum’s stated purpose was “to indicate the existence of a PAID-UP OIL AND

  GAS LEASE,” which was “effective for all purposes as of the date set out below[.]” (ECF No.

  63-4.) It further provides that Plaintiffs, as lessors, and Defendant, as lessee, “have entered into

  that certain Lease,” and have “executed, acknowledged, and delivered this Memorandum of Lease

  in accordance with W. Va. Code § 40-1-8[.]” (Id.) Additionally, the Memorandum states that the

  parties, “intending to be legally bound, hereby publish and give notice of the tenancy and estate(s)

  created, and certain of the rights granted by and obligations under the Lease as follows,” and, inter

  alia, list that “[s]aid Lease shall be in force for a primary term of five (5) years from the effective

  date of the Lease. . . .” (Id.) Both Plaintiffs and Defendant signed and notarized the Memorandum.

  (See id.)

             Defendant never tendered bonuses to Plaintiffs. (See ECF No. 63-8 at 37:20-21.) Then,

  between October 5, 2018 and April 18, 2019, Defendant sent each Plaintiff a document entitled

  “Surrender of the Oil and Gas Lease” (“Surrender”). (See ECF No. 63-9.) The Surrender, signed

  by Defendant’s CEO, “release[d], relinquish[ed], surrender[ed]” Defendant from “any and all

  right, title, and interest whatsoever presently owned[.]” (Id.) Ultimately, Plaintiffs were able to

  enter into a replacement lease agreement with another company and secured $4,500 per acre for a

  bonus consideration. (ECF No. 65 at 7, 63-1 at 7.)

             Plaintiffs initiated this action in the Northern District of West Virginia on October 19,

  2020. 1 (ECF No. 1.) The Complaint states three causes of action for (1) Breach of Contract; (2)
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  Breach of the Implied Covenant of Good Faith and Fair Dealing; and (3) Slander of Title. (Id. at

  8-10.)




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   On November 6, 2020, the undersigned judge was designated and assigned to hear this case pursuant to 28 U.S.C. §
  292(b).

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         Plaintiffs and Defendant both filed motions for summary judgment on Plaintiffs’ breach of

  contract claim on November 9, 2021. (ECF Nos. 63, 64.) Both parties timely responded on

  November 23, 2021, (ECF Nos. 68, 69), and replied on November 30, 2021, (ECF Nos. 71, 72).

  As such, both motions are fully briefed and ripe for adjudication.

                                         II.     LEGAL STANDARD

         Summary judgment is appropriate when the moving party “shows that there is no genuine

  dispute as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R.

  Civ. P. 56(a). “A fact is material when it ‘might affect the outcome of the suit under the governing

  law.’” Strothers v. City of Laurel, 895 F.3d 317, 326 (4th Cir. 2018) (quoting Anderson v. Liberty

  Lobby, Inc., 477 U.S. 242, 248, 106 S. Ct. 2505, 91 L.Ed.2d 202 (1986)). “A genuine dispute arises

  when ‘the evidence is such that a reasonable jury could return a verdict for the non-moving party.’”

  Id. (quoting Anderson, 477 U.S. at 248, 106 S. Ct. 2505). “Thus, at the summary judgment phase,

  the pertinent inquiry is whether there are any genuine factual issues that properly can be resolved

  only by a finder of fact because they may reasonably be resolved in favor of either party.” Variety

  Stores, Inc. v. Wal-Mart Stores, Inc., 888 F.3d 651, 659 (4th Cir. 2018) (alteration and internal

  quotation marks omitted).

         The burden is on the nonmoving party to show that there is a genuine issue of material fact

  for trial. Liberty Lobby, Inc., 477 U.S. at 248. “The nonmoving party must do so by offering

  ‘sufficient proof in the form of admissible evidence’ rather than relying solely on the allegations

  of her pleadings.” Guessous v. Fairview Prop. Invs., LLC, 828 F.3d 208, 216 (4th Cir. 2016)

  (quoting Mitchell v. Data Gen. Corp., 12 F.3d 1310, 1316 (4th Cir. 1993)). The Court must “view

  the evidence in the light most favorable to the [nonmoving] party.” Tolan v. Cotton, 572 U.S. 650,

  657 (2014) (internal quotation marks omitted); Variety Stores, Inc., 888 F.3d at 659.



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         When faced with cross-motions for summary judgment, the Court applies the above

  standard and must consider “each motion separately on its own merits to determine whether either

  of the parties deserves judgment as a matter of law.” Rossignol v. Voorhaar, 316 F.3d 516, 523

  (4th Cir. 2003) (internal quotation marks omitted). “The court . . . cannot weigh the evidence or

  make credibility determinations.” Jacobs v. N.C. Admin. Office of the Courts, 780 F.3d 562, 569

  (4th Cir. 2015); see also Lee v. Town of Seaboard, 863 F.3d 323, 327 (4th Cir. 2017). In general,

  if “an issue as to a material fact cannot be resolved without observation of the demeanor of

  witnesses in order to evaluate their credibility, summary judgment is not appropriate.” Fed. R.

  Civ. P. 56 advisory committee’s note to 1963 amendment.

         When the principles of summary judgment are applied to contract interpretation, “only an

  unambiguous writing justifies summary judgment without resort to extrinsic evidence.” Goodman

  v. Resol. Trust Corp., 7 F.3d 1123, 1126 (4th Cir. 1993) (citing American Fid. & Cas. Co. v.

  London & Edinburgh Ins. Co., 354 F.2d 214, 216 (4th Cir. 1965)). “If a court properly determines

  that the contract is unambiguous on the dispositive issues, it may then properly interpret the

  contract as a matter of law and grant summary judgment because no interpretive facts are in

  genuine issue.” Id. On the other hand, where a court deems the contract ambiguous, a court may

  “examine evidence extrinsic to the contract that is included in the summary judgment materials,

  and, if the evidence is, as a matter of law, dispositive of the interpretative issue, grant summary

  judgment on that basis.” Washington Metro. Area Transit Auth. v. Potomac Inv. Prop., Inc., 476

  F.3d 231, 235 (4th Cir. 2007) (citing Goodman, 7 F.3d at 1126). However, if such extrinsic

  evidence “leaves genuine issues of fact respecting the contract's proper interpretation, summary

  judgment must of course be refused and interpretation left to the trier of fact.” Id.

                                              III.       ANALYSIS



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         Plaintiffs and Defendant both move the court to enter summary judgment in their favor on

  Count I of the Complaint for breach of contract, which alleges that Defendant breached the Lease

  by failing to tender the bonus payments. (ECF No. 1 at 8, ¶ 50.) “A federal court exercising

  diversity jurisdiction is obliged to apply the substantive law of the state in which it sits.” Volvo

  Const. Equip. N. Am. v. CLM Equip. Co., Inc., 386 F.3d 581, 599–600 (4th Cir. 2004) (citing Erie

  R.R. Co. v. Tompkins, 304 U.S. 64, 79 (1938)). In West Virginia, a claim for breach of contract,

  has four elements: “[1] the existence of a valid, enforceable contract; [2] that the plaintiff has

  performed under the contract; [3] that the defendant has breached or violated its duties or

  obligations under the contract; and [4] that the plaintiff has been injured as a result.” Exec. Risk

  Indem., Inc. v. Charleston Area Med. Ctr., Inc., 681 F. Supp. 2d 694, 714 (S.D.W. Va. 2009)

  (citing 23 Williston on Contracts § 63:1 (Richard A. Lord, ed., 4th ed. West 2009)).

         Here, the second and fourth elements are undisputed. (See ECF No. 63-1 at 11.) Instead,

  the pending cross-motions raise fundamental issues related to the first and third elements.

  Specifically, Plaintiffs argue that (1) there was a valid and enforceable contract, and (2) Defendant

  breached by failing to pay the required bonus. (ECF No. 64.) Conversely, Defendant argues that

  (1) a valid and enforceable contract was never formed; (2) even if there was a contract, conditions

  precedent to performance were not satisfied; and (3) Defendant’s obligation was discharged by a

  condition subsequent. (See ECF No. 63.) Each issue is addressed in turn.

     A. Valid and Enforceable Contract

         Whether a contract exists is generally a question of fact reserved for the jury, but the

  question may be removed from the jury’s consideration when the plaintiff has failed to establish a

  prima facie right of recovery. Thacker v. Peak, 800 F. Supp. 372, 382–83 (S.D. W. Va. 1992)

  (citing Syl. Pt. 4, Cook v. Heck’s Inc., 342 S.E.2d 453 (W. Va. 1986)). For a valid and enforceable



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  contract to exist, West Virginia law requires “competent parties, legal subject-matter, valuable

  consideration, and mutual assent. There can be no contract, if there is one of these essential

  elements upon which the minds of the parties are not in agreement.” Ways v. Imation Enterprises

  Corp., 589 S.E.2d 36, 44 (W. Va. 2003) (citing Syl. Pt. 5, Virginian Export Coal Co. v. Rowland

  Land Co., 131 S.E. 253 (W. Va. 1926)).

         In this case, the parties disagree on whether there was mutual assent. Plaintiff argues that

  Defendant manifested assent to the Lease by signing, notarizing, and recording the Memorandum,

  which expressly state that the parties intended to be legally bound. (See ECF No. 65 at 19.) As

  such, the documents, when read together, are “unambiguous and speak for themselves.” (Id. at

  20.) Conversely, Defendant argues the Lease was merely part of preliminary negotiations that

  “required further manifestation of assent by Defendant.” (ECF No. 63-1 at 12.) Specifically,

  Defendant argues that Defendant never executed or notarized the Lease, which was an express

  condition precedent to contract formation. (Id. at 13.)

         As discussed more fully below, the Court finds that mutual assent existed. First, the Lease

  and Order of Payment must be construed together. Second, there was no condition precedent to

  contract formation based on the plain language of the Order of Payment. Third, the Lease was not

  merely a part of preliminary negotiations.

         1. The Lease and Order of Payment must be construed together.

         The West Virginia Supreme Court of Appeals (“WVSCA”) has explained that, “[i]t is a

  well-recognized principle of law that, even though writings may be separate, they will be construed

  together and considered to constitute one transaction when the parties are the same, the subject

  matter is the same and the relationship between the documents is clearly apparent. Ashland Oil,

  Inc. v. Donahue, 223 S.E.2d 433, 437 (W. Va. 1976) (collecting cases).



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          Here, the Lease and Order of Payment are agreements between the same parties. The

  subject matter of both documents is the same, which is the oil and gas agreement between Plaintiffs

  and Defendant. (See ECF Nos. 63-2, 63-5.) Additionally, the relationship between the documents

  is clearly apparent, as the Lease lays out the essential terms of the agreement, (see ECF No. 63-2),

  and the Order of Payment provides a potential bonus for the execution of the Lease, which is

  specifically referenced, (see ECF No. 63-5). Thus, the Lease and Order of Payment must be

  construed together.

          2. Defendant manifested assent to be bound to the Lease.

          “A meeting of the minds is a sine qua non of all contracts.” Riner v. Newbraugh, 563

  S.E.2d 802, 804 (W. Va. 2002). “The contractual concept of ‘meeting of the minds’ or ‘mutual

  assent’ relates to the parties having the same understanding of the terms of the agreement reached.”

  Messer v. Huntington Anesthesia Grp., Inc., 664 S.E.2d 751, 759 (W. Va. 2008) (citation omitted).

  For “mutual assent” to exist, “it is necessary that there be a[n] ... offer on the part of one party and

  an acceptance on the part of the other.” Bailey v. Sewell Coal Co., 437 S.E.2d 448, 450 (W. Va.

  1993). “Both the offer and acceptance may be by word, act or conduct that evince the intention of

  the parties to contract.” Id. at 450–51. Mutual assent “may be shown by direct evidence of an

  actual agreement or by indirect evidence through facts from which an agreement may be implied.”

  Bailey, 437 S.E.2d at 451.

          An offer is “‘the manifestation of willingness to enter into a bargain, so made as to justify

  another person in understanding that his assent to that bargain is invited and will conclude

  it.’” Verizon West Virginia, Inc. v. West Virginia Bureau of Employment Programs, 214 W.Va.

  95, 586 S.E.2d 170, 205 n. 11 (W.Va.2003) (Davis, J., dissenting); see also 1 Corbin on Contracts,

  § 11 at 23 (1963) (defining an offer as “an expression by one party of his assent to certain definite



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  terms provided that the other party involved in the bargaining transaction will likewise express his

  assent to the identical same terms.”). “An offer must be certain in its essential terms to create a

  power of acceptance.”             Charbonnages de France v. Smith, 597 F.2d 406, 417 (4th

  Cir.1979) (construing West Virginia law). In contrast, “a manifestation of willingness to enter into

  a bargain” will not constitute an offer if the person receiving the communication “knows or has

  reason to know” that the party manifesting a willingness to bargain “does not intend to conclude

  [the] bargain until he has made a further manifestation of assent.” Restatement (Second) of

  Contracts, § 26 (1981). Such communications will constitute preliminary negotiations. See id.

           Based upon these legal principles, the Court finds that Defendant manifested assent to bind

  itself to the Lease and, thus, the Order of Payment. To start, the Lease specifies the parties, the

  subject land, the amount in consideration, the duration of the lease, the rights granted, royalty

  payments, specific rights and obligations, procedures for filing notice of default and breach, etc.

  (See ECF No. 63-2.) As such, the essential terms of the Documents were certain enough to create

  a power of acceptance for the Plaintiffs. See Smith, 597 F.2d at 417.

           Further, as Plaintiffs argue, the Memorandum, which Defendant signed and notarized,

  provides that Plaintiffs, as lessors, and Defendant, as lessee, “have entered into that certain Lease,”

  and, “intending to be legally bound, hereby publish and give notice of the tenancy and estate(s)

  created, and certain of the rights granted by and obligations under the Lease as follows[.]” (ECF

  No. 63-4.) Defendant acknowledges its intent to be legally bound by the Memorandum but reasons

  that “to be legally bound to the publishing of its rights to a leasehold estate . . . does not equate to

  an obligation to pursue the contractual terms contained within the Subject Leases . . . [.]” 2 (ECF           1F




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   Defendant also argues that to be legally bound to the publishing of its rights to a leasehold estate does not equate to
  an obligation “to be bound to the bonus payment obligations under a document it never signed[.]” However, as
  discussed above, the Lease and Order of Payment must be construed together. Thus, if Defendant is bound by the
  Lease, it is also bound by the Order of Payment.

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  No. 71 at 8 n. 10.) That may be true, but Defendant recorded the Memorandum under West

  Virginia Code Section 40-1-8, which specifies that “[s]uch memorandum shall constitute notice of

  only the information contained therein.” W. Va. Code § 40-1-8 (emphasis added). And the very

  first line of the Memorandum states that its purpose is “to indicate the existence of a PAID-UP

  OIL AND GAS LEASE,” which was “effective for all purposes as of the date set out below[.]”

  (ECF No. 63-4 (emphasis added).) Thus, Defendant gave the world—including Plaintiffs—notice

  of the existence of an effective Lease. If not “direct evidence of an actual agreement” this language

  constitutes “indirect evidence through facts from which an agreement may be implied.” Bailey,

  437 S.E.2d at 451. As such, Plaintiffs were justified in believing that Defendant intended to be

  bound to the Lease, Verizon West Virginia, Inc., 586 S.E.2d at 205 n. 11, and this mutual assent,

  combined with the competent parties, legal subject-matter, and valuable consideration constitutes

  a valid and enforceable contract in West Virginia. See Ways, 589 S.E.2d at 44.

         Defendant also argues that “[i]n exchange for $10 consideration, each Plaintiff granted

  Defendant rights to a real property (leasehold) interest,” but “the signing, notarizing, and recording

  of the Subject Memoranda did not magically forfeit the language in the Subject Orders of Payment

  which allowed Defendant to review Plaintiffs’ title under the Subject Leases and conditioned

  bonus payments[.]” (ECF No. 71 at 10.) Specifically, Defendant claims that the Order of Payment

  contained a condition precedent that required a further manifestation of assent by Defendant before

  the contract was formed—namely management approval of the fully executed and notarized lease.

  (ECF No. 63-1 at 16.) Thus, Defendant contends that this alleged condition precedent established

  that the Documents were “preliminary negotiations which, if consummated, would have resulted

  in fully executed and notarized Subject Leases.” (ECF No. 68 at 13.)

         It is true that, “[i]n negotiating a contract[,] the parties may impose any condition



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  precedent, the performance of which is essential before they become bound by the agreement; in

  other words, there may be a condition precedent to the existence of a contract.” Miners’ &

  Merchants’ Bank v. Gidley, 144 S.E.2d 711, 715 (W. Va. 1965) (citing 17 Am. Jur. 2d, Contracts,

  Section 24); see also Fultz v. Connelly, 80 S.E.2d 438 (W. Va. 1954) (“Where a contract negotiated

  by agent is made subject to confirmation or approval by the principal, the contract is not binding

  on the principal until he confirms or approves it.”). However, the plain language of the Order of

  Payment does not support Defendant’s argument:

           On and subject to approval of the fully executed and notarized Oil and Gas Lease
           herewith (“Oil and Gas Lease”) by the management of [Defendant] and upon and
           subject to further approval of Payee’s title and rights thereunder by
           [Defendant], [Defendant] will tender payment to payee (whether one or more) in
           the amount specified below by bank check, within ninety (90) business days of the
           date of this Order of Payment.

  (ECF No. 63-5 (emphasis added).)

           Unlike Kerns, 3 which Defendant cites for support, the Lease itself is not subject to these
                            2F




  conditions. Defendant apparently recognizes this, as it claims that the Order of Payment contained

  language “that alerted Plaintiffs that Defendant did not intend to conclude the bargain until it had

  made a further manifestation of assent.” (See ECF No. 71 at 14 (emphasis added).) Thus,

  Defendant seems to suggest that the existence of the condition precedent implies that the Lease

  was not fully executed. The Court disagrees.

           The WVSCA has warned that, “[w]hile a valid contract may be made between parties by

  memorandum, telegrams, and correspondence, care should be taken not to construe as an

  agreement that which the parties only intended to be a preliminary negotiation.”                              Blair v.

  Dickinson, 54 S.E.2d 828, 844 (W. Va. 1949). The issue can be stated succinctly as, whether a


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    Kerns v. Range Res.-Appalachia, LLC, No. 1:10CV23, 2011 WL 197908 at *5 (N.D. W. Va. Jan. 18, 2011) (“[I]f
  the plaintiffs ‘[remained] interested in leasing [their] property[ ] Range would consider entering into a five (5) year
  term delay rental lease with a lease date commencing in early 2009.”).

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  final written draft is viewed “merely as a convenient memorial” of an already agreed to contract

  versus “the consummation of the negotiation.” Id. at 844 (citations omitted); see also Cabot Oil

  & Gas Corp. v. Daugherty Petroleum, Inc., 479 F. App’x 524, 529 (4th Cir. 2012) (noting that the

  parties’ correspondence did not create a binding agreement in the absence of a formal written

  contract because the parties manifested their mutual intention to memorialize any agreement in a

  formal written contract). The WVSCA has identified six factors that can aid in ascertaining which

  view was held by the parties: (1) whether the contract is of the type usually in writing; (2) whether

  the contract needs to be a formal writing for its full expression; (3) whether it has many or few

  details; (4) whether the value of the contract is large; (5) “whether it is a common or unusual

  contract”; and (6) “whether the negotiations themselves indicate a written draft is contemplated as

  a final conclusion of the negotiations.” Blair, 54 S.E.2d at 844 (citations omitted).

         Here, the Blair factors indicate that the Lease and Order of Payment were not preliminary

  negotiations. As to the first and second factors, an oil and gas lease is of the type “usually found

  to be in writing,” one that often required “a formal writing for its full expression.” Blair, 54 S.E.2d

  at 844. Further, the Lease is a formal writing detailing the parties’ full expression, as discussed

  above. Similarly, as to the third factor, the Lease and Order of Payment fully encompass the

  numerous details and terms the parties had to agree to in order to successfully close the contract.

  (See ECF Nos. 63-2, 63-5.) In fact, although the Order of Payment contained certain conditions,

  it also provided for what was to occur if those conditions were not met. (See ECF No. 63-5.) As

  such, there were no outstanding issues to be finalized by the parties before the parties could

  complete a binding contract. And, as to the sixth factor, the Lease and Order of Payment do not

  indicate a different document was contemplated as a final conclusion of negotiations. Blair, 54




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  S.E.2d at 844. Indeed, Defendant conceded that another document would not be needed if the

  conditions were met. (See ECF No. 63-8 at 65:24-66:4.)

         Accordingly, there was a valid and enforceable contract.

     B. Breach of Contract

         Alternatively, Defendant argues that the undisputed facts show that Defendant has in no

  way breached any obligation it had to tender bonus payments to the Plaintiffs because its

  management did not approve the Lease, which was an express condition precedent. (ECF No. 63-

  1 at 17-18.) Whereas Plaintiffs aver that this condition precedent is “a figment of Defendant’s

  imagination” because “[n]owhere in the Order of Payment does the phrase ‘condition precedent’

  appear, express or otherwise.” (ECF No. 69 at 24.). Plaintiff also argues that the Lease did receive

  management approval because Defendant signed, notarized, and recorded the Memorandum,

  which “had the same legal effect of approval of the fully executed and notarized Oil and Gas

  Lease[] as contemplated by the Order[] of Payment.” (Id. at 29.)

         It is a basic contract principle that “[a] valid written instrument which expresses the intent

  of the parties in plain and unambiguous language is not subject to judicial construction or

  interpretation but will be applied and enforced according to such intent.” Syllabus Point 1, Cotiga

  Development Co. v. United Fuel Gas Co., 147 W.Va. 484, 128 S.E.2d 626 (1962). And, “[u]nder

  the broad liberty of contract allowed by law, parties may make performance of any comparatively,

  or apparently, trivial and unimportant covenant, agreement, or duty under the contract a condition

  precedent, and in such case, the contract will be enforced or dealt with as made.” Mimi’s Inc. v.

  BAI Riverwalk, L.P., No. 18-0775, 2020 WL 1487804, at *4–5 (W. Va. Mar. 23, 2020) (internal

  quotations and citations omitted). No particular form of words is necessary in order to create an

  express condition, Beattie-Firth, Inc. v. Colebank, 105 S.E.2d 5, 7 (W. Va. 1958), because a



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  condition precedent is not a question of phrase or form but of the intention of the parties, Gidley,

  144 S.E.2d at 715 (citations omitted).

         In this case, the plain language of the Order of Payment clearly conditions the bonus

  payment “[o]n and subject to approval of the fully executed and notarized Oil and Gas Lease

  herewith (“Oil and Gas Lease”) by the management of [Defendant],” (ECF No. 63-5), even if the

  specific words “condition precedent” are not used, see Colebank, 105 S.E.2d at 7. Importantly,

  the Order of Payment does not specify what “management approval” is. (ECF No. 63-5).

  However, the Court need not make that determination based on the plain language of the Order of

  Payment. Specifically, Defendant was not obligated to tender bonus payments because the Lease

  was never “fully executed and notarized,” as Defendant never signed or notarized it.

         Plaintiffs argue that this interpretation “improperly read[s] into the Order of Payment that

  Defendant must execute and notarize the Lease as proof of its ‘management approval.’” (ECF No.

  69 at 30.) The Court disagrees. Rather, Defendant’s management could not approve “the fully

  executed and notarized” Lease if the Lease was, in fact, never fully executed or notarized.

         Additionally, the signed and notarized Memorandum does not have the same legal effect

  as if the Lease was fully executed and notarized, as the Order of Payment contemplated. As

  discussed above, the Lease was binding due to the Memorandum. By definition, something

  binding “ha[s] legal force to impose an obligation.” BINDING, Black's Law Dictionary (11th ed.

  2019); see also CONTRACT, Black's Law Dictionary (11th ed. 2019) (defining a binding contract

  as an agreement that “create[es] obligations that are enforceable”). However, simply because the

  Lease was binding does not mean that it was “fully executed and notarized,” as an executed

  document is “one that has been signed.” EXECUTED, Black's Law Dictionary (11th ed. 2019).

  While the term “executed” may also mean a contract “that has been fully performed by both



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  parties,” id., Plaintiffs have conceded that Defendant did not perform under the contract by

  claiming Defendant breached the contract.

         Additionally, the Memorandum was filed in accordance with West Virginia Code Section

  § 40-1-8, which specifies that “[s]uch memorandum shall constitute notice of only the information

  contained therein.” W. Va. Code § 40-1-8, and the Memorandum specifically states that “THIS

  MEMORANDUM OF LEASE IS NOT A COMPLETE SUMMARY OF SAID PAID-UP OIL

  AND GAS LEASE[.]” (ECF No. 63-4.) As such, it could not be fully executed by virtue of the

  Memorandum. Further, although the Memorandum indicates that the Lease was executed, (see,

  e.g., ECF No. 63-4 at 39 (“the existence of a PAID-UP OIL AND GAS LEASE (hereinafter

  ‘Lease’) executed the 26 day of April, 2018”)), the plain language of the Order of Payment still

  requires the Lease to be fully notarized, which it was not. (See ECF No. 63-4.). As such, the

  Memorandum did not satisfy the requirement for a fully executed and notarized Lease.

         Although the Court recognizes Plaintiffs’ policy concerns, the freedom to contract is “the

  paramount public policy” and parties “of full age and competent understanding shall have the

  utmost liberty of contracting, and that their contracts, when entered into freely and voluntarily,

  shall be held sacred, and shall be enforced by courts of justice.” State v. Memorial Gardens

  Development Corp., 101 S.E.2d 425, 430 (W. Va. 1957) (quoting Baltimore & Ohio Southwestern

  Railway Co. v. Voigt, 176 U.S. 498, 20 S.Ct. 385, 387, 44 L.Ed. 560 (1900)). Thus, “[t]he judicial

  power to declare a contract void as contravening sound public policy is a very delicate and

  undefined power, and should be exercised only in cases free from doubt,” Syllabus Point 1, Barnes

  v. Koontz, 112 W.Va. 48, 163 S.E. 719 (1932) (internal citation omitted). Here, the Court is not

  free from doubt as Plaintiffs were competent parties who knowingly entered into an unambiguous




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  contract. 4 Thus, the Court will enforce the plain language of the contract.
            3F




           Accordingly, for all these reasons, the Court finds that Defendant did not breach its

  contractual duty because the condition precedent to Defendant’s obligation to tender bonus

  payments was not satisfied. 5    4F




                                                    IV.      CONCLUSION

           For the foregoing reasons, the Court GRANTS Defendant's Motion, (ECF No. 63), and

  DENIES Plaintiffs’ Motion, (ECF No. 64).                    Thus, summary judgment is GRANTED for

  Defendant on Plaintiffs’ Count I claim for breach of contract.

           IT IS SO ORDERED.

           The Court DIRECTS the Clerk to send a copy of this Order to counsel of record and any

  unrepresented party.

                                                          ENTER:           January 27, 2022




  4
    Although this case teeters on the “darker side of the oil and gas leasing industry,” see Chesapeake Appalachia, L.L.C.
  v. Hickman, 781 S.E.2d 198, 219 (W. Va. 2015), the present facts are distinguishable from Hickman. Without the
  payment of the up-front bonus, the plaintiff in Hickman received no consideration, which is an essential element of
  contract formation. Hickman, 781 S.E.2d at 220. By contrast, Plaintiffs in this case received ten dollars in
  consideration, (see ECF No. 63-5), which constitutes valuable consideration under West Virginia law, see, e.g., South
  Penn Oil Co. v. Snodgrass, 76 S.E. 961 (W. Va. 1912) (consideration of $1.00).
  5
    Because the condition precedent was not satisfied, the Court need not consider Defendant’s argument relating to the
  alleged condition subsequent. (See ECF No. 63-1 at 21.)

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